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                                                        U.S. Department of Justice
                                                        United States Attorney
                                                        Western District of New York

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                                                  March 22, 2018


Honorable Richard J. Arcara
United States District Court Judge
Western District of New York
2 Niagara Square
Buffalo, New York 14202

       Re:    United States v. Charles Weber
              15-CR-10-A

Dear Judge Arcara:

       The government’s post-hearing submissions are due on March 23, 2018. Local Rule
of Criminal Procedure 12(c) provides that memoranda in support of or in opposition to any
motion shall not exceed twenty-five (25) pages in length. Due to the length of the testimony
presented during the competency hearing, the government hereby seeks the Court’s
permission to file a submission of forty (40) pages in length. The government agrees that
defense counsel’s page limit should be similarly extended.

                                           Respectfully,

                                           JAMES P. KENNEDY, JR
                                           United States Attorney

                                     BY:   s/ MARYELLEN KRESSE
                                           Assistant United States Attorney


cc: Brian P. Comerford, Esq.
